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      UNITED STATES BANKRUPTCY COURT DISTRICT
      OF NEW JERSEY (TRENTON)

      Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                           Chapter 11
      In Re:
      BLOCKFI INC., et al., 1                                              Case No. 22-19361 (MBK)
                                                                           Jointly Administered
                                                                           Judge: Honorable Michael B.
                                                  Debtors.                 Kaplan
                                                                           Related Docket No. 1623

                  BRIEF OF SPECIALLY-APPEARING GENESIS DEBTORS
               REGARDING MOTION OF THE JOINT LIQUIDATORS OF THREE
               ARROWS CAPITAL, LTD. FOR COORDINATION AMONG COURTS

 TO:      THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED
          STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY


 1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
 (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
 BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address 100
 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.

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          Genesis Global Holdco, LLC and its affiliated debtors and debtors-in-possession 2

 (collectively, the “Genesis Debtors”) in the jointly administered chapter 11 cases before the

 Honorable Judge Sean Lane in the United States Bankruptcy Court for the Southern District of

 New York (the “Genesis Court”), In re Genesis Global Holdco, LLC, Case No. 23-10063 (SHL)

 (the “Genesis Chapter 11 Cases”), specially-appearing through their undersigned counsel solely

 for the purpose identified herein, hereby submit this brief (this “Brief”) in response to the Motion

 of the Joint Liquidators of Three Arrows Capital, Ltd. for Coordination Among Courts (the

 “Coordination Motion”) (ECF No. 1623) filed by the Foreign Representatives of Three Arrows

 Capital, Ltd. (“3AC”). The Genesis Debtors specially appear to file the Brief solely for the

 purpose of informing this Court of the position the Genesis Debtors intend to take on the parallel

 relief requested in the Genesis Chapter 11 Cases, and the potential effects of the proposed relief

 on the claim adjudication process currently underway in the Genesis Chapter 11 Cases. 3 The

 Genesis Debtors respectfully state as follows:

          1.       Along with the Coordination Motion filed in this case, 3AC has filed motions

 seeking similar relief in the Genesis Chapter 11 Cases, ECF 754 (In re Genesis Global Holdco,

 LLC, et al., Case No. 23-10063); the chapter 11 cases of FTX Trading Inc., and its debtor

 affiliates; the Chapter 15 Court overseeing 3AC’s own U.S. proceedings 4; and the BVI court

 overseeing 3AC’s BVI liquidation. 5 Notably, no such motion has been filed in the court

 overseeing the Celsius chapter 11 cases. See Coordination Motion Exhibit A at 1.


 2
         In addition to Genesis Global Holdco LLC, the Genesis Debtors include Genesis Global Capital, LLC and
 Genesis Asia Pacific Pte. Ltd.
 3
          The Genesis Debtors’ full reservation of rights is below.
 4
          Notably, while the Coordination Motion was filed in 3AC’s chapter 15 proceedings, no hearing date has been
 noticed on such motion.
 5
         As of the date of this filing, the Genesis Debtors are not aware of any relief having been filed or sought from
 the BVI Court in respect of the Coordination Motion.


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         2.       The relief sought by the Coordination Motion is both extraordinary and

 extraordinarily vague: 3AC purports to request an undefined coordination process between five

 or six separate courts, 6 one of which is outside of the United States, without specifying what that

 process might look like, which legal or factual issues may be reserved for it, or the timeline on

 which any of this coordination would happen.

         3.       3AC filed claims in the Genesis Chapter 11 Cases more than four months ago, to

 which the Genesis Debtors objected, including on the ground that 3AC failed to sufficiently

 plead its claims. See In re Genesis Global Holdco, LLC, Case No. 23-10063, ECF No. 530.

 After the Genesis Debtors filed their objection, 3AC indicated that it intended to amend its

 claims. 3AC sought leave of the Court to take broad discovery in advance of that amendment or,

 in the alternative, a ruling that a near-term amendment would not prejudice 3AC’s right to amend

 its claims again at a later date, after substantial discovery. See In re Genesis Global Holdco,

 LLC, Case No. 23-10063, August 22 Hr’g Tr. 22-42. The court in the Genesis Debtors’ cases

 characterized this as a request for a “free amendment” and denied 3AC’s request. Id. at 38-42.

 3AC then filed revised proofs of claim, to which the Genesis Debtors filed an amended

 substantive objection, more than a month ago. See In re Genesis Global Holdco, LLC, Case No.

 23-10063, ECF No. 658. Since the filing of that objection, Judge Lane entered a scheduling

 order under which fact discovery will conclude on November 6, 2023, see In re Genesis Global

 Holdco, LLC, Case No. 23-10063, ECF No.695, and the Genesis Debtors have every expectation

 that an evidentiary hearing on the 3AC claims in the Genesis Chapter 11 Cases will be complete

 by year-end, consistent with Judge Lane’s stated goal in setting the discovery schedule. In re



 6
          The total number depends upon whether 3AC ultimately seeks to include the Celsius court, which was
 included in an amended version of the parallel coordination motion filed in the Genesis Chapter 11 Cases, but was not
 included in the relief sought in this Court.

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 Genesis Global Holdco, LLC, Case No. 23-10063, Sept. 6, 2023 Hr’g Tr. at 60 (entering

 discovery schedule that “leaves open the possibility we’d have [a substantive hearing on the

 objection to 3AC’s claim] for the end of the year.”). In the midst of this process, 3AC filed a

 motion to lift the automatic stay in the Genesis Chapter 11 Cases to prosecute its claim against

 the Genesis Debtors in either the BVI Court or, alternatively, in the Chapter 15 Court. See In re

 Genesis Global Holdco, LLC, Case No. 23-10063, ECF No. 678. Throughout, the Genesis

 Debtors and their creditors have repeatedly expressed their concern that 3AC has been delaying

 the resolution of their claims and using the threat of such a delay as a tactic. The same parties

 have also argued that 3AC’s request to transfer the litigation over its claims to another forum –

 after having sought, and been denied, certain relief from the Genesis Court – was impermissible

 forum shopping. See, e.g., Joinder and Reservation of Rights of the Official Committee of

 Unsecured Creditors to Debtors’ Objection to the Motion of the Joint Liquidators of Three

 Arrows Capital, Ltd. to Modify the Automatic Stay, In re Genesis Global Holdco, LLC, Case

 No. 23-10063, ECF No 721 (“Because 3AC knows [that changing forums at this stage would

 cause material delay], it is difficult to see 3AC’s Motion as anything more than a belated forum-

 shopping tactic designed to leverage the Genesis creditors’ needs to receive distributions without

 further delay.”).

        4.      3AC has now filed a motion that is very similar to the Coordination Motion filed

 in the above-captioned chapter 11 cases. At the very least, this “coordination” gambit threatens

 to add significant delay and confusion to the well-advanced process of adjudicating 3AC’s

 claims in the Genesis Chapter 11 Cases, to no clear end. Of particular concern is the fact that the

 Coordination Motion seeks relief that is structurally impossible as written, and unworkable in

 any event. In order for the proposed “coordination” to even be possible (in whatever yet-



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 unspecified form such “coordination” may ultimately take), at least four other courts, including

 a foreign court, would have to grant identical or parallel relief to that requested by the

 Coordination Motion filed in this case. Moreover, the relief granted by each court would have to

 be granted in favor of all four (or five) other courts, including a foreign court. This is no trifling

 point where 3AC has sought stay relief in the alternative in favor of the Chapter 15 Court or the

 BVI Court and where such relief is vigorously opposed by the various U.S. debtors. Setting

 aside the fact that it could take months for four or five separate courts to grant coordinated relief,

 the proposed order filed with the Coordination Motion purports to order other U.S. bankruptcy

 courts and a foreign court to coordinate with this Court, which this Court lacks authority to do.

 Even this preliminary undertaking is, ironically, likely to be exactly the source of “wasteful

 expenditure of both judicial resources and the administrative expenses of the Debtor Defendants”

 that 3AC claims it wishes to avoid. See Coordination Motion at ¶ 2.

          5.       As such, the Genesis Debtors plan to oppose the coordination motion filed in the

 Genesis Chapter 11 Cases 7 for, inter alia, the following reasons: 8

                       a. 3AC has articulated no statutory basis for the requested relief. In

 support of the Coordination Motion, 3AC points to not a single section of the Bankruptcy Code

 or the Federal Rules of Bankruptcy Procedure that contemplates anything similar to the

 “coordination” they seek. The Coordination Motion gestures at the general grant of equitable

 authority under Bankruptcy Code section 105(a), see Coordination Motion at ¶ 22, but this

 authority is not unbounded, and must be used to effectuate another provision of the Bankruptcy


 7
           Upon information and belief, the committee of unsecured creditors in the Genesis Chapter 11 Cases intends
 to join the Genesis Debtors in their opposition, just as they joined the Genesis Debtors in their opposition to 3AC’s
 motion requesting relief from the automatic stay in the Genesis Chapter 11 Cases. See In re Genesis Global Holdco,
 LLC, Case No. 23-10063, ECF No. 721.
 8
          Upon information and belief, the FTX Debtors intend to oppose the parallel relief sought in their chapter 11
 cases on similar grounds.

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 Code. In re Dairy Mart Convenience Stores, Inc., 351 F.3d 86, 91–92 (2d Cir. 2003) (finding an

 “exercise of section 105 power [must] be tied to another Bankruptcy Code section and not

 merely to a general bankruptcy concept or objective”). The Coordination Motion also references

 Bankruptcy Code sections 1509, 1517 and 1525, none of which are relevant to the requested

 relief, even when read in tandem with Section 105(a). See Coordination Motion at ¶ 24-25.

 These sections of the Bankruptcy Code contemplate methods of coordination that are critical to a

 chapter 15 case’s coordination with a foreign main proceeding, but are far afield from the

 coordination among multiple U.S. bankruptcy courts overseeing plenary proceedings of

 completely unaffiliated debtors contemplated by the Coordination Motion.

                    b. The requested relief is too vague to implement. In dozens of pages of

 briefing, the Coordination Motion fails to offer a single detail regarding the form the proposed

 “coordination” might take—and in its proposed order, requests no specific relief beyond

 “authorizing this Court to conference with the Genesis, FTX and BVI courts.” Exhibit A to the

 Mot. at 1. It is, therefore, not even clear what the first step in this coordination process might be,

 even if this Court and the other five courts were to promptly grant the precise relief requested by

 3AC. Actual implementation of this hypothetical coordination process would likely require

 additional motion practice, or at the very least a logistically-challenging joint conference among

 the five or six affected courts, all before any substantive consideration of supposedly common

 factual or legal questions could begin.

                     c. 3AC has failed to articulate genuinely common issues of law and fact.

  The issues that 3AC identifies as “common” between the six cases – including the timing of

  3AC’s insolvency, as well as ordinary course and safe harbor defenses, See Coordination

  Motion at ¶ 19 – are in fact highly context-specific inquiries that have, at most, some



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  overlapping relevant facts. For instance, the question of whether 3AC was solvent is not a

  question that can be asked or resolved generically. To the contrary, in support of its preference

  claims, 3AC will need to demonstrate that it was insolvent as of the time of each challenged

  transaction, or that any such transaction caused 3AC to become insolvent. Courts making this

  solvency inquiry may well reach different conclusions for different time periods in connection

  with different challenged transactions, and it is therefore difficult to see how any such decisions

  could be “weaponized” against 3AC in other cases, considering the solvency inquiry in a

  different temporal context. See Coordination Motion at ¶ 36.

        6.      For the foregoing reasons, among others, the Genesis Debtors plan to vigorously

 object to the parallel coordination motion filed by 3AC in the Genesis Chapter 11 Cases. The

 Genesis Debtors file this Brief in order to make this Court aware that the relief sought by 3AC is

 not supported by Genesis Debtors (nor, to the Genesis Debtors’ knowledge, is it supported by

 BlockFi, FTX or Celsius), that the parallel relief has not been granted in the other courts in

 which it has been sought, and that this Court’s determination on the Coordination Motion

 presently before it is only one of many gating items to the commencement of the “coordination”

 process imagined by 3AC.




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                                  RESERVATION OF RIGHTS

        The filing and submission of the Brief is not in any way a submission by the Genesis

 Debtors to the jurisdiction or authority of this Court for any purpose and shall not constitute an

 admission, waiver or consent by the Genesis Debtors of any arguments, rights, claims, actions,

 defenses, setoffs, recoupments, or other matters of the Genesis Debtors of any kind, whether under

 any agreements, at law, in equity, or otherwise, including, without limitation, the matters expressly

 addressed herein.

   Dated: October 9, 2023                    /s/ Luke A. Barefoot
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